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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


NATIONAL PUBLIC RADIO, INC., et al.,

             Plaintiffs,

      v.                                       Case No. 1:25-cv-01674

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

             Defendants.


PUBLIC BROADCASTING SERVICE, et al.,

             Plaintiffs,

      v.                                       Case No. 1:25-cv-01722

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

             Defendants.


             AMICUS CURIAE BRIEF OF DIGITAL CONTENT NEXT,
            THE INTERCEPT MEDIA, INC., PRO PUBLICA, INC., AND
            THE RADIO TELEVISION DIGITAL NEWS ASSOCIATION
      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR SUMMARY JUDGMENT

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                        CORPORATE DISCLOSURE STATEMENTS

       Digital Content Next has no parent corporation, corporate affiliates, or subsidiaries, and

issues no stock.

       The Intercept Media, Inc. is a non-profit, non-stock Delaware corporation. No entity

owns any stock in the corporation, and it has no corporate affiliates, subsidiaries, or parent

corporations.

       Pro Publica, Inc. (“ProPublica”) is a Delaware nonprofit corporation that is tax-exempt

under section 501(c)(3) of the Internal Revenue Code. It has no corporate affiliates, subsidiaries,

or parent corporations, and has no stock.

       Radio Television Digital News Association is a nonprofit organization that has no

parent company, corporate affiliates, or subsidiaries, and issues no stock.




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                             RULE 29(a)(4)(E) CERTIFICATION

       Pursuant to Local Rule 7(o)(5) and Federal Rule of Appellate Procedure 29(a)(4)(E),

amici certify that their counsel authored this brief in whole or in part; no party or party’s counsel

contributed money that was intended to fund preparing or submitting this brief; and no person —

other than amici, their members, or counsel — contributed money that was intended to fund

preparing or submitting the brief.




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                               INTERESTS OF AMICI CURIAE

       Amici are a coalition of news organizations and associations representing the interests of

the news media. As members of the news media, amici have a vital interest in ensuring that the

First Amendment’s prohibition on viewpoint discrimination, as well as the procedural

protections afforded under the Fifth Amendment’s Due Process Clause, are safeguarded and

upheld. Because President Trump’s Executive Order purporting to end federal funding for

National Public Radio, the Public Broadcasting Service, and their member stations violates both

the First and Fifth Amendments, amici have a strong interest in ensuring that the Executive

Order is permanently enjoined and declared unconstitutional. Additionally, amici are uniquely

positioned to address the grave threats that this executive order poses to a free press and an

informed democracy.

       Amici and their interests are as follows:

       Digital Content Next (“DCN”), founded in 2001, is the only trade organization

dedicated to serving the unique and diverse needs of high-quality digital content companies that

enjoy trusted, direct relationships with consumers and advertisers. DCN’s members include

many of the most trusted and well-respected publishing brands in the United States. Together,

DCN’s members have an unduplicated audience of 259 million unique visitors and reach 95

percent of the U.S. online population. DCN’s member list is a “who’s who” of the American

media and publishing industry.

       The Intercept Media, Inc. is a nonprofit news organization that publishes The Intercept,

an award-winning, nationally recognized news organization with a reputation for in-depth

investigations that focus on politics, national security, crime and justice, surveillance, corruption,

the environment, science, technology, and the media. One of its projects is the Press Freedom




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Defense Fund that provides support, training and financial assistance to news organizations,

individual journalists, and documentarians when confronted with security and legal threats.

       Pro Publica, Inc. (“ProPublica”) is an independent, nonprofit newsroom that produces

investigative journalism in the public interest. It has won eight Pulitzer Prizes, most recently

2024 and 2025 prizes for public service, a 2020 prize for national reporting, and the 2019 prize

for feature writing. ProPublica is supported almost entirely by philanthropy and offers its

articles for republication, both through its website, propublica.org, and directly to leading news

organizations selected for maximum impact. ProPublica has extensive regional and local

operations and a series of Local Reporting Network partnerships.

       Radio Television Digital News Association (“RTDNA”) is the world’s largest and only

professional organization devoted exclusively to electronic journalism. RTDNA is made up of

news directors, news associates, educators and students in radio, television, cable and electronic

media. RTDNA is committed to encouraging excellence in the electronic journalism industry

and upholding First Amendment freedoms.




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                                        INTRODUCTION

       In an unprecedented attack on the First Amendment, last month President Trump issued

an Executive Order purporting to end federal funding for National Public Radio, Inc. (“NPR”),

the Public Broadcasting Service (“PBS”), and their member stations (together, “Plaintiffs”). See

Exec. Order No. 14,290, Ending Taxpayer Subsidization of Biased Media, 90 Fed. Reg. 19,415

(May 1, 2025) (the “Order”). As the Order itself and the President’s related statements make

clear, the motivation for this attack is a desire to suppress speech the President dislikes—speech

he has called “trash,” “biased,” and a “Radical Left Disaster,” published by “MONSTERS” who

are “1000% against the Republican Party!” Such official targeting of disfavored speech and

speakers violates the First Amendment’s bedrock prohibition on viewpoint discrimination.

“Government favoritism in public debate is so pernicious to liberty and democratic

decisionmaking that viewpoint discrimination will almost always be rendered unconstitutional.”

Frederick Douglass Found., Inc. v. D.C., 82 F.4th 1122, 1141 (D.C. Cir. 2023) (cleaned up). In

other words, “[v]iewpoint discrimination is ‘poison.’” Id. (quoting Iancu v. Brunetti, 588 U.S.

388, 399 (2019) (Alito, J., concurring)). Judicial review is the antidote.

       Amici write to underscore the grave threats this unconstitutional Order poses to a free

press. NPR, PBS, and their member stations play a vital role in the nation’s media landscape,

from providing fact-based reporting on national news to educational early-childhood

programming to lifesaving emergency alerts. Some member stations are the only radio or

television broadcasters in their areas, with thousands of Americans dependent on them for

coverage. And the Order’s devastating impact is not limited to Plaintiffs. Allowing the Order to

stand would set a dangerous, speech-chilling precedent with ripple effects felt throughout the

press and public. If the President can target NPR, PBS, and their member stations with impunity,




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other media organizations may well be next. While the courts have played a vital role in

restraining the Administration’s viewpoint-discriminatory acts to date, many news media

organizations cannot afford such a fight. Newsrooms are increasingly facing a Hobson’s choice:

hew their coverage to the White House’s liking, or face official retribution. Such “self-

censorship, compelled by the State, would be a censorship affecting the whole public, hardly less

virulent for being privately administered.” Smith v. California, 361 U.S. 147, 154 (1959). Thus,

given the vital role of a free press in our democracy, it is the public that ultimately suffers when

the press is targeted.

        The Court should grant Plaintiffs’ motions for summary judgment, declare that the Order

is unlawful, and permanently enjoin Defendants from implementing or enforcing it.

                                           ARGUMENT

I.      THIS UNCONSTITUTIONAL ORDER WILL HARM THE PRESS AND PUBLIC

        The Order, if left unchecked, would harm not only Plaintiffs and their audiences, but also

the press and public nationwide. If the President can single out disfavored news organizations

for punishment, without procedural protections, others will fear their journalism will be next to

draw the President’s ire. Without warning, they may find themselves facing severe penalties to

their newsgathering and finances. Even for those who escape such targeting, the looming threat

of it may chill vital journalism. And for members of the press who do face government

retribution and prevail in court, the resulting legal battle will inevitably drain organizational

resources—both time and money—that would otherwise go toward gathering and reporting the

news. As the Supreme Court recognized, “would-be critics of official conduct may be deterred

from voicing their criticism, even though it is believed to be true and even though it is in fact

true, because of doubt whether [they can prevail] in court or fear of the expense of having to do

so.” N.Y. Times Co. v. Sullivan, 376 U.S. 254, 279 (1964).


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       When journalism is chilled, so is public discourse. At the root of the First Amendment is

the recognition that the free press plays an “essential role in our democracy.” N.Y. Times Co. v.

United States, 403 U.S. 713, 717 (1971) (Black, J., concurring); see Mills v. Alabama, 384 U.S.

214, 219 (1966) (“The Constitution specifically selected the press . . . to play an important role in

the discussion of public affairs.”). A system in which the President may target news

organizations for summary retribution based on his dislike of their speech is one in which the

“‘uninhibited, robust, and wide-open’ debate that the First Amendment is intended to protect”

cannot long survive. Counterman v. Colorado, 600 U.S. 66, 78 (2023) (quoting Sullivan, 376

U.S. at 270).

       Underscoring the severity of these risks, the Administration has engaged in a series of

official acts, including many executive orders, targeting “speaker[s] they don’t like,” “all while

evading the due process that would normally accompany such a step.” Jenner & Block LLP v.

U.S. Dep’t of Just., 2025 WL 1482021, at *16 (D.D.C. May 23, 2025). This Court and others

across the country have enjoined many of these speech-chilling efforts, in cases involving




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entities from news organizations 1 to law firms 2 to universities 3 to nonprofits 4 and more. In doing

so, courts have upheld the maxim that “[t]he First Amendment envisions the United States as a



1
  See Associated Press v. Budowich, 2025 WL 1039572, at *9-15 (D.D.C. Apr. 8, 2025), appeal
filed, No. 25-5109 (D.C. Cir. Apr. 10, 2025) (enjoining President’s viewpoint-discriminatory ban
on Associated Press from White House press pool and press corps events due to its use of the
name “Gulf of Mexico”); see also Widakuswara v. Lake, 2025 WL 1166400, at *14 (D.D.C. Apr.
22, 2025) (granting preliminary injunction based on Administrative Procedure Act claims in case
challenging President’s executive order dismantling Voice of America, but noting as to
viewpoint discrimination claim that “it cannot be the case that by shutting down all content at an
agency, which current leadership has deemed ‘radical’ and ‘so far to the left,’ the defendants
have avoided any First Amendment transgressions”).
2
  See Wilmer Cutler Pickering Hale & Dorr LLP v. Exec. Off. of President, 2025 WL 1502329,
at *16, *26 (D.D.C. May 27, 2025) (granting summary judgment for WilmerHale based on
finding that executive order which “suppresses [] disfavored speech by imposing severe
sanctions on WilmerHale both directly and indirectly” “is ‘an egregious’ violation of the First
Amendment!” and “violates procedural due process”); Jenner & Block, 2025 WL 1482021, at
*6, *16 (enjoining executive order targeting Jenner & Block on due process and First
Amendment grounds, and citing a “feature[] of this order magnify[ing] its offensiveness to the
freedoms the First Amendment guarantees: its viewpoint discrimination”); Perkins Coie LLP v.
U.S. Dep’t of Just., 2025 WL 1276857, at *32, *44 (D.D.C. May 2, 2025) (executive order
targeting Perkins Coie “express[ed] President Trump’s disapproval of plaintiff’s First
Amendment activity” amounting to “viewpoint discrimination, plain and simple,” and violated
due process); Susman Godfrey LLP v. Exec. Off. of President, 2025 WL 1113408, at *1 (D.D.C.
Apr. 15, 2025) (entering temporary restraining order in case bringing due process and viewpoint-
discrimination challenges to executive order targeting Susman Godfrey); see also Am. Bar Ass’n
v. U.S. Dep’t of Just., 2025 WL 1388891, at *8 (D.D.C. May 14, 2025) (holding American Bar
Association “has made a strong showing that Defendants terminated its grants to retaliate against
it for engaging in protected speech,” violating First Amendment).
3
  See President & Fellows of Harvard Coll. v. Dep’t of Homeland Sec., 2025 WL 1588636, at *1
(D. Mass. June 5, 2025) (entering temporary restraining order in case bringing viewpoint-
discrimination and other challenges to executive order preventing Harvard from enrolling
international students); see also Nat’l Ass’n of Diversity Officers in Higher Educ. v. Trump, 2025
WL 573764, at *24 (D. Md. Feb. 21, 2025) (entering preliminary injunction to prevent “textbook
viewpoint-based discrimination” in executive order requiring termination of “equity-related”
grants), appeal filed, No. 25-1189 (4th Cir. Feb. 27, 2025).
4
  See San Francisco A.I.D.S. Found. v. Trump, 2025 WL 1621636, at *18 (N.D. Cal. June 9,
2025) (executive order directing agencies to terminate funding for diversity and gender-related
initiatives “violate[s] the First Amendment by withholding subsidies for a censorious purpose—
aiming to suppress the dangerous ideas of ‘equity,’ ‘DEI,’ and ‘gender ideology’”).


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rich and complex place where all persons are free to think and speak as they wish, not as the

government demands.” 303 Creative LLC v. Elenis, 600 U.S. 570, 603 (2023). Here, too, amici

urge the Court to reject yet another blatant attempt at suppressing disfavored speech, one which

threatens the press and public nationwide, from rural audiences reliant on public media for fact-

based news coverage and emergency alerts, to news organizations fearing retribution for their

truthful reporting on matters of public concern.

II.    THE ORDER VIOLATES THE FIRST AMENDMENT’S PROHIBITION ON
       VIEWPOINT DISCRIMINATION

       The Order is unconstitutional because it amounts to viewpoint-based speech

discrimination that the First Amendment flatly forbids. See NPR Compl. ¶¶ 130-38; PBS

Compl. ¶¶ 91-103. Allowing the Order to stand risks subjecting not only NPR and PBS, but also

the broader press, to government punishment based on the contents of protected speech.

       A.      Viewpoint Discrimination Strikes at the Core of the First Amendment

       The Supreme Court has repeatedly made clear, including in a unanimous decision last

term, that “viewpoint discrimination is uniquely harmful to a free and democratic society.” NRA

of Am. v. Vullo, 602 U.S. 175, 187 (2024). In another unanimous decision that term, the Court

further explained:

               [A] State may not interfere with private actors’ speech to advance
               its own vision of ideological balance. States (and their citizens) are
               of course right to want an expressive realm in which the public has
               access to a wide range of views. That is, indeed, a fundamental aim
               of the First Amendment. But the way the First Amendment achieves
               that goal is by preventing the government from “tilt[ing] public
               debate in a preferred direction.”

Moody v. NetChoice, LLC, 603 U.S. 707, 741 (2024) (quoting Sorrell v. IMS Health Inc., 564

U.S. 552, 578-79 (2011)); see also Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S.

819, 829 (1995) (“When the government targets not subject matter, but particular views taken by



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speakers on a subject, the violation of the First Amendment is all the more blatant.”); Police

Dep’t of City of Chicago v. Mosley, 408 U.S. 92, 95 (1972) (“[A]bove all else, the First

Amendment means that government has no power to restrict expression because of its message,

its ideas, its subject matter, or its content”). Even during World War II, in an opinion that

referenced and distinguished the United States from “our present totalitarian enemies,” the

Supreme Court declared that “[i]f there is any fixed star in our constitutional constellation, it is

that no official, high or petty, can prescribe what shall be orthodox in politics, nationalism,

religion, or other matters of opinion or force citizens to confess by word or act their faith

therein.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943).

        B.      The Order Constitutes Unlawful Viewpoint Discrimination

        The Order openly violates this foundational rule. Though “the government rarely flatly

admits it is engaging in viewpoint discrimination,” Ridley v. MBTA, 390 F.3d 65, 86 (1st Cir.

2004), it has done so repeatedly in this case. The President does not want NPR, PBS, and their

member stations to broadcast the content of their choosing – he wants them to broadcast content

he prefers. And he is so insistent that, in an effort to punish Plaintiffs for the content of their

programming, he purports to end their federal funding entirely.

        The Order makes its target clear from the start: what it perceives as “Biased Media.” See

Order § 1 (claiming “that neither entity presents a fair, accurate, or unbiased portrayal of current

events”), § 2 (citing “my Administration’s policy to ensure that Federal funding does not support

biased and partisan news coverage”). The White House’s “Fact Sheet” underscores the Order’s

viewpoint-discriminatory aims, claiming falsely that “NPR and PBS have fueled partisanship and




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left-wing propaganda.” 5 The “Fact Sheet” lists examples of disfavored reporting, complaining

that “NPR refused to cover the Hunter Biden laptop story,” that “NPR ran a Valentine’s Day

feature around ‘queer animals,’” that “PBS produced a movie titled ‘Real Boy’ which celebrates

a transgender teen’s transition,” and more. See Fact Sheet. The White House’s accompanying

press release doubles down again on the Order’s discriminatory purpose, claiming that NPR and

PBS “spread radical, woke propaganda disguised as ‘news,’” and listing more “examples of the

trash that has passed for ‘news’ at NPR and PBS.” 6

        The President has further amplified this message on social media, where he has

repeatedly attacked NPR and PBS with posts stating, inter alia, that “REPUBLICANS MUST

DEFUND AND TOTALLY DISASSOCIATE THEMSELVES FROM NPR & PBS, THE

RADICAL LEFT ‘MONSTERS’ THAT SO BADLY HURT OUR COUNTRY!” and that “NPR

and PBS are a Radical Left Disaster, and 1000% against the Republican Party!” 7

        There is no question that the President may voice his own anti-NPR and anti-PBS “views

freely and criticize particular beliefs,” but there is also no question that “what [he] cannot do . . .

is use the power of the State to punish or suppress disfavored expression.” Vullo, 602 U.S. at

188. Yet as the Order and surrounding statements make clear, he is engaged in precisely that



5
 See Fact Sheet: President Donald J. Trump Ends the Taxpayer Subsidization of Biased Media,
White House (May 1, 2025), https://www.whitehouse.gov/fact-sheets/2025/05/fact-sheet-
president-donald-j-trump-ends-the-taxpayer-subsidization-of-biased-media (“Fact Sheet”).
6
 See Press Release, “President Trump Finally Ends the Madness of NPR, PBS,” White House
(May 2, 2025), https://www.whitehouse.gov/articles/2025/05/president-trump-finally-ends-the-
madness-of-npr-pbs (“Press Release”).
7
 @RealDonaldTrump, Truth Social,
https://truthsocial.com/@realDonaldTrump/posts/114671982391481893 (June 12, 2025);
@RealDonaldTrump, Truth Social,
https://truthsocial.com/@realDonaldTrump/posts/114264549657133828 (Apr. 1, 2025).


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sort of viewpoint-based discrimination against Plaintiffs, in violation of the First Amendment.

       That the Order targets Plaintiffs based on the President’s “factual mistake” of

characterizing Plaintiffs as “radical, woke propagand[ists],” see Fact Sheet—when in fact they

are fact-based, nonpartisan broadcasters—does not change the result. Heffernan v. City of

Paterson, N.J., 578 U.S. 266, 274 (2016). Discrimination based on the speaker’s perceived

viewpoint, even when the speaker does not in fact espouse that viewpoint, remains

unconstitutional. Id. Official targeting of protected speech “can cause the same kind, and

degree, of constitutional harm whether that belief does or does not rest upon a factual mistake.”

Id. The targeting “of one tells the others that they engage in protected activity at their peril,”

whether or not the speakers actually hold the views for which they are being targeted. Id. at 273.

       Nor does Plaintiffs’ status as public media change the result. Viewpoint discrimination is

anathema to a free society, however that viewpoint is funded. For one, “NPR is an independent,

nonprofit media organization” and “is not a public radio station, nor does it operate one,” but it

provides programming to “independent locally owned and operated public radio stations around

the country.” NPR Statement of Undisputed Material Facts (“SUMF”) ¶¶ 1-3 (Dkt. 21-2).

Likewise, PBS is a “a private non-profit corporation.” PBS Compl. ¶ 4. The Corporation for

Public Broadcasting, through which Plaintiffs receive funding, is a “non-federal, non-profit, and

nonpartisan entity,” structured that way by Congress “‘to afford maximum protection from

extraneous interference and control.’” Id. ¶¶ 2, 34 (quoting 47 U.S.C. § 396(a)(10)). The First

Amendment’s prohibition on viewpoint-based speech restrictions applies just as forcefully in this

case. Whether aimed at public broadcasters or any other speakers, “[a] regulation of speech

that,” as here, “is motivated by nothing more than a desire to curtail expression of a particular

point of view on controversial issues of general interest is the purest example of a ‘law . . .




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abridging the freedom of speech, or of the press’” and cannot stand. FCC v. League of Women

Voters of Cal., 468 U.S. 364, 383-84 (1984) (citation omitted).

III.    THE ORDER ALSO VIOLATES THE FIFTH AMENDMENT’S DUE PROCESS
        CLAUSE

        The Order is unconstitutional for the additional and independent reason that it violates the

Due Process Clause. See NPR Compl. ¶¶ 149-61. Plaintiffs have a protected property interest in

their continued eligibility for federal funding and a protected liberty interest in the exercise of

their First Amendment rights. Their funding eligibility and speech thus cannot be curtailed

without due process of law. Yet Plaintiffs received no procedural protections, and the Order

rested on arbitrary and viewpoint-discriminatory reasons.

        A.      The Order Implicates Plaintiffs’ Property and Liberty Interests

        The Due Process Clause “imposes constraints on governmental decisions which deprive

individuals of ‘liberty’ or ‘property’ interests.” Mathews v. Eldridge, 424 U.S. 319, 332 (1976).

When faced with a due process claim, therefore, courts “first inquire whether the nature of the

interest is within the contemplation of the Constitution’s ‘liberty or property’ language.”

Brandon v. D.C. Bd. of Parole, 823 F.2d 644, 647 (D.C. Cir. 1987) (citation omitted). Here, the

Order implicates both property and liberty interests.

              i.       The Order Implicates Plaintiffs’ Property Interests

        Plaintiffs have a protected property interest in their continued eligibility for federal

funding, which the Order implicates. Protected property rights include “statutory entitlements.”

Goldberg v. Kelly, 397 U.S. 254, 262 (1970). A property interest also arises from “existing rules

or understandings that stem from an independent source such as state law.” Bd. of Regents of

State Colls. v. Roth, 408 U.S. 564, 577 (1972); see also Mathews, 424 U.S. at 332 (“[T]he

interest of an individual in continued receipt of these benefits is a statutorily created ‘property’



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interest protected by the Fifth Amendment”); NB ex rel. Peacock v. D.C., 794 F.3d 31, 41 (D.C.

Cir. 2015) (“It is well established that certain government benefits give rise to property interests

protected by the Due Process Clause.”). Property rights “protect those claims upon which people

rely in their daily lives, reliance that must not be arbitrarily undermined.” Roth, 408 U.S. at 577.

Here, Plaintiffs’ statutory entitlement to, and legitimate reliance on, continued eligibility for

federal funding is a property interest protected by the Due Process Clause. See NPR Compl.

¶ 152.

              ii.       The Order Implicates Plaintiffs’ Liberty Interests

         Plaintiffs also have a protected liberty interest in the exercise of their First Amendment

rights, which the Order implicates as well. “A liberty interest may arise from the Constitution

itself, by reason of guarantees implicit in the word ‘liberty,’ or it may arise from an expectation

or interest created by state laws or policies.” Wilkinson v. Austin, 545 U.S. 209, 221 (2005)

(internal citation omitted). “In a Constitution for a free people, there can be no doubt that the

meaning of ‘liberty’ must be broad indeed.” Roth, 408 U.S. at 571-72.

         In a bygone era, the Supreme Court extended due process protections only to interests it

counted as “rights,” not “mere privilege[s].” Cafeteria & Rest. Workers Union, Loc. 473, AFL-

CIO v. McElroy, 367 U.S. 886, 895 (1961). The Court repudiated this doctrine over 60 years

ago, however, reasoning that “[i]t is too late in the day to doubt that [] liberties” such as free

“expression may be infringed by the denial of or placing of conditions upon a benefit or

privilege.” Sherbert v. Verner, 374 U.S. 398, 404 (1963). “For that reason,” the Supreme Court

“fully and finally rejected the wooden distinction between ‘rights’ and ‘privileges’ that once

seemed to govern the applicability of procedural due process rights.” Roth, 408 U.S. at 571.

Instead, courts have long recognized that “[o]ne may not have a constitutional right to go to




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Baghdad, but the Government may not prohibit one from going there unless by means consonant

with due process of law.” Homer v. Richmond, 292 F.2d 719, 722 (D.C. Cir. 1961).

       Americans indisputably enjoy a liberty interest in the exercise of First Amendment rights.

See, e.g., Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 499 (1982) (due

process attaches to “the exercise of constitutionally protected rights,” including “the right of free

speech”); Joseph Burstyn, Inc. v. Wilson, 343 U.S. 495, 500 (1952) (“[T]he liberty of speech and

of the press . . . is within the liberty safeguarded by the Due Process Clause[.]”). The liberty

interest is broad—including the right to speak freely, publish freely, and gather the news—and

applies across a wide variety of contexts. Procedural protections are therefore required “[w]hen

a State would directly impinge upon interests in free speech or free press . . . whether or not the

speech or press interest is clearly protected under substantive First Amendment standards.”

Roth, 408 U.S. at 575 n.14.

       For example, even though “the public has no right of access to the White House,” once

the White House opens its doors to journalists, “the protection afforded newsgathering under the

first amendment guarantee of freedom of the press, requires that this access not be denied

arbitrarily or for less than compelling reasons.” Sherrill v. Knight, 569 F.2d 124, 129 (D.C. Cir.

1977). Journalists therefore have a protected liberty interest in obtaining, and keeping, White

House press passes. Id. at 130-31; Karem v. Trump, 960 F.3d 656, 665 (D.C. Cir. 2020).

       Courts have also recognized that “[t]he interest of prisoners and their correspondents in

uncensored communication by letter, grounded as it is in the First Amendment, is plainly a

‘liberty’ interest” protected by due process, “even though qualified of necessity by the

circumstance of imprisonment.” Procunier v. Martinez, 416 U.S. 396, 418 (1974), overruled on

other grounds by Thornburgh v. Abbott, 490 U.S. 401 (1989). A recent decision in this District




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found that this liberty interest extends even to the use of prison email, rejecting the government’s

antiquated claim that a prisoner “has no protected liberty interest because the” use of the email

system is “a ‘privilege’” not a right. Bailey v. Fed. Bureau of Prisons, 2024 WL 3219207, at *11

(D.D.C. June 28, 2024).

       Government employees likewise have a liberty interest in not being fired “on a basis that

infringes that employee’s constitutionally protected interest in freedom of speech.” Rankin v.

McPherson, 483 U.S. 378, 383–84 (1987). Indeed, even if the employee “was merely a

probationary employee, and even if she could have been discharged for any reason or for no

reason at all, she may nonetheless be entitled to reinstatement if she was discharged for

exercising her constitutional right to freedom of expression.” Id.

       In revoking Plaintiffs’ eligibility for federal funding, the Order here squarely implicates

Plaintiffs’ protected liberty interests in exercising their First Amendment rights by “produc[ing],

acquir[ing], and distribut[ing] programming, including national news programming.” NPR

SUMF ¶ 3. While the government is not obligated to fund public broadcasters in the first

instance, once it does so, there is a protected interest in continued funding. Any deprivation of

that protected interest must come after affording Plaintiffs due process.

            iii.       Plaintiffs’ Protected Interests Prevent Defendants from Eliminating
                       their Continued Funding Without Due Process

       The Founders wove Fifth Amendment due process into the Constitution out of respect for

the need to safeguard this type of property and liberty interest. This means that, before the

President can deprive PBS, NPR, and their member stations of this interest, he must follow

procedural safeguards with a viewpoint-neutral, reasonable basis for doing so.




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       B.      Defendants Failed to Provide Plaintiffs with Due Process

       Due process requires the government to follow constitutionally “adequate procedures”

before denying a protected property or liberty interest. Sherrill, 569 F.2d at 131 n.24. Because

the Order “implicates important first amendment rights,” the requirements of due process must

be applied in a “particularly stringent” manner. Karem, 960 F.3d at 665 (cleaned up). More

specifically, Defendants were required to provide Plaintiffs, before reaching a final decision,

with (1) “notice of the factual bases for denial,” (2) “an opportunity for the applicant to respond

to these,” and (3) “a final written statement of the reasons for denial” of access, (4) which

reasons may not be “arbitrar[y]” or “less than compelling.” Sherrill, 569 F.2d at 130.

       Defendants cannot dispute that they failed to provide Plaintiffs with due process in all of

these respects. See NPR Compl. ¶ 156. Plaintiffs were entitled to “receive fair notice not only of

the conduct that would subject it to punishment, but also of the magnitude of the sanction that the

White House might impose,” which under this Order is severe if not existential. Karem, 960

F.3d at 665 (cleaned up). And, to be “constitutionally sufficient,” notice must be provided “prior

to being sanctioned,” which it was not. FCC v. Fox Television Stations, Inc., 567 U.S. 239, 257

(2012) (emphasis added); see also CNN, Inc. v. Trump, 2018 WL 9436958 (D.D.C. Nov. 16,

2018) (noting, as to the revocation of CNN reporter’s White House press pass, that “when an

important interest is at stake and when the government is able to provide this process before

deprivation, it generally must do so”). There was no process here, let alone timely process.

       The Order was also issued “arbitrarily [and] for less than compelling reasons.” Sherrill,

569 F.2d at 129; see also BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 587 (1996) (Breyer, J.,

concurring) (“This constitutional concern, itself harkening back to the Magna Carta, arises out of

the basic unfairness of depriving citizens of life, liberty, or property, through the application, not

of law and legal processes, but of arbitrary coercion.”). As discussed above, the Order flows


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from the President’s desire to restrict the speech and editorial discretion of NPR, PBS, and their

member stations based on their perceived viewpoints. See Sherrill, 569 F.2d at 129 (official

targeting is “violative of the first amendment” when “based upon the content of the journalist’s

speech”); Perry v. Sindermann, 408 U.S. 593, 597 (1972) (cleaned up) (government “may not

deny a benefit to a person on a basis that infringes his constitutionally protected interests—

especially, his interest in freedom of speech,” which “would allow the government to produce a

result which it could not command directly”). This Court should “not allow the defendants to

evade the procedural protections that would normally attend” such an action “by instituting a

scheme of state censorship effectuated by extralegal sanctions.” Jenner & Block, 2025 WL

1482021, at *17 (internal marks omitted).

       Defendants have not met a single one of the constitutionally mandated requirements of

due process. Their revocation of Plaintiffs’ funding eligibility was arbitrary and unlawful, and

the Order should be enjoined for this additional reason.

                                         CONCLUSION

       For the foregoing reasons, the Court should enter summary judgment in favor of

Plaintiffs, issue a declaration that the Order is unlawful, and permanently enjoin Defendants

from implementing or enforcing it, and grant any other relief that the Court deems appropriate.




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 Dated: June 20, 2025        Respectfully submitted,

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